UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

KERRICK PANE BERRIOS, on behalf of
himself and others similarly situated in the
proposed FLSA Collective Action,

Plaintiff,
- against -
ARROW SECURITY INC., ARROW

SECURITY OF NEW YORK., and
ALEXANDER CARO,

Defendants.

Pursuant to Federal Rule of Civil Procedure 7.1, Defendants ARROW
SECURITY INC., and ARROW SECURITY OF NEW YORK., by and through their
attorneys, ZABELL & COLLOTTA, P.C., state that during Plaintiffs term of

employment, there was no parent corporation or any publicly held corporation owning

10% or more of 1ts respective stock.

Dated: Bohemia, New York

Case No.: 23-cv-04646

RULE 7.1
DISCLOSURE STATEMENT

July 17, 2023 ZABELL & COLLOTTA, P.C.
Attorneys for, Defendants

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